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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

In re CASSAVA SCIENCES INC.            §
SECURITIES LITIGATION                  §    Master File No. 1:21-cv-00751-DAE
                                       §
                                       §            CLASS ACTION
This Document Relates to:              §
                                       §
              ALL ACTIONS              §
                                       §


DECLARATION OF JOHN TURQUET BRAVARD IN SUPPORT OF DEFENDANTS’
OPPOSITION TO PLAINTIFFS’ MOTION TO SUPPLEMENT THE CONSOLIDATED
                            COMPLAINT
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       I, JOHN TURQUET BRAVARD, hereby declare as follows:

       1.      I am an attorney licensed to practice law in the States of Colorado and the District

of Columbia. I am an associate at the law firm Gibson, Dunn & Crutcher LLP, and counsel for

Defendants in the above-captioned action. I make this declaration in support of Defendants’

Opposition to Plaintiffs’ Motion to Supplement.

       2.      I am over eighteen years of age and competent to testify to the matter set forth in

this Declaration.

       3.      Attached as Exhibit A is a true and correct copy of the October 12, 2023 Science

magazine article referred to by Plaintiffs’ in their proposed supplemental allegations, ECF 129-3.

       4.      Attached as Exhibit B is a true and correct copy of CUNY’s October 27, 2023

statement regarding the publication of the Science article (i.e. Exhibit A).

       5.      The Court may find at https://shorturl.at/ipB79 a true and correct copy of the

purported CUNY document that the aforementioned Science article was predicated on. That

document could be accessed using a link embedded in the aforementioned Science article on

October 12, 2023 (also found at https://shorturl.at/fGNQ).

       6.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Executed on: March 7, 2024.



                                                             JOHN TURQUET BRAVARD




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